37 F.3d 1488
    Neyer, Tiseo &amp; Hindo, Ltd., d/b/a NTH Consultants, Ltd.v.Russell (Teddy Wayne), Daily (Daniel A.), AppliedGeosciences Corp. v. Neyer, Tiseo &amp; Hindo, Ltd.,Neyer (Jerome C.), Tiseo (Benedict),Hindo (Khalid R.), Nona (Dhafir E.)
    NO. 94-1143
    United States Court of Appeals,Third Circuit.
    Aug 16, 1994
    
      Appeal From:  E.D.Pa.,
      Yohn, J.
    
    
      1
      AFFIRMED.
    
    